                Case 2:23-bk-12602-BB                   Doc 1 Filed 04/28/23 Entered 04/28/23 13:16:26                                     Desc
                                                        Main Document    Page 1 of 34

Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                MidStone, Inc., a California corporation

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  23608 Kathryn Ave.
                                  Torrance, CA 90505
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    MidStone, Inc., a California corporation                                                     Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 2362

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    MidStone, Inc., a California corporation                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   MidStone, Inc., a California corporation                                      Case number (if known)
         Name

                                $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                     Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor Midstono,lnc,_?cg!!fo!!&_99rp9l3!!g!                                                                  Case nlmber (lknowr)
                                                                        -



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I                                   -"_"l"l"liglgg
                                                         stg":trLre:

WARNING        -   Bank.uptcyfaaud is a serjous crime. Illaking a false statemont in connoction wilh a bankruptcy case can result ln fines up to $500,000 or
                   imprisonment for up to 20 years, or both. 18 U.S.C. SS 152, 1341, 1519, and 3571.

17. Declaration and signature
       ofauthorized                    The debtor rcquests rclief in acco.dance with the chapt€r oftitle l'1, United States Code. specified in this petition.
       reoresentatlve of debtor
                                       I have been authorized to file this petition on     behalfofthe debtor.

                                       lhave examined the information          in thls petition and have a .easonable   beliefthatthe infomation is true and conect.

                                       I   deolare under penalty of pe.jury that the foregoing is true and correct.

                                       Executed     on     April   21   , 2023   __.
                                                           MI\4/DD/ff/Y

                                                                                                                   Warren Tarbell
                                                                                                                    Printed name
                                       'fitle    President




18. Signature      ofattorney      X                                                                                    Date April 21, 2023
                                                                                                                             [,rM /   Dt/WW---
                                                                            180025




                                       10866Wilshire BIvd, Suite 225
                                       Los Angeles, C490024
                                       Number, street, city, state & zlP code


                                       contactphone 310-575'1175                            Emajl   addfess bjy@youristlaw.com

                                       180025 CA
                                       e€inumger and State




    Official Form 201                              Voluntary Petltion for Non-lndividuais Fillng for Bankruptcy                                                        page 5
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 Debtor    namo Midstone,        Inc., a California corporation

 United States Bankruptcy Court forthe:      CENTML DISTRICT OF CALIFORNIA

 Cage numbet     (l   kno\,!n)
                                                                                                                           E   Check ifthis ls an
                                                                                                                               amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-lndividual Debtors                                                                                     12J15


An Individualwho ls authorized to act on bohalf of a non-indlvidualdebtor, such as a corporation or partnership, mustsign and submitthis
form iorthe schedules ofassets and llabflltles, any oth€f document that requires a dsclaratlon that is not lnclud6d in the document, and any
amondmonts ofthose doouments, This form must state tho Indivldual's posltion or rclatlonship to the debtor, the identity of the document,
and the date. Bankruptcy Rul€s 1008 and 90J1.

WARNING    - Eankruptcy fraud is a serious crim6. Making a false statement, concealing property, or obtaining money or property by fraud in
con nection wlth a ban kruptcy ca6e can rosult ln fines u p to $500,000 or imp sonmont for up to 20 years, or both. 1 8 U.S. C. 55 1 52, 1 341 ,
1519, and 3571.




Io*n::::"'*                      signature


      I am the president, another offcer, or an authorized agent of the coeoratlonl a membef or an authorized agent   of the partnershipi or another
      individlal serving as a representative ofthe debtor ld this ca9e.

      I   have examined the infomation in ihe documents checked below and I have a reasonable beliefthat the information is true and correcf

          I      Scredu/e ,4/Br Assefs-Re al and Perconal PrcpeW (Official Form 206FJB)

          I      Schodulo D: Ctoditots Who Have Claims Securod by Propotty loffiaial Fom 206D\

          I      Schedule E/F: Credilors Mo Hava Unsacured Clall??s (Official Form 206E/F)

          I      Schadule G: Executory Conttacts and Unexpircd Leeses (OfficialForm 206G)

          I      Schedule H: Codebtors (Official Fom 206H)

          I      Sumnaty of Assets and Uabilities for Nonlndividuals (Ofticial Form 206sum)
          tr    Amended sc,ledule
          tr    Chdpt1t 11 ot Chapler g Casea: Lisl ol Cloditars V{no Have the 2OT.atAed Unseiwtia   Aains ina'eri> Nbi'/rsdofs (OfUclalForm 204)
          I     Othor documont that fequires a declaration Statement of Financial Affairs




                                                          Warren Tarbell


                                                          President
                                                         FosttoiiiEiitionsnhtooe-otor




Official Form 202                                  Declaration undor Penalty ot Perjury for Non-lndividual Debtors
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                                         STATEMENT OF RELATED CASES
                                     INFORMATION REQUIRED BY LBR 1015.2
             UNITED STATES BANKRUPTCY COURT, CENTRAL DISTRICT OF CALIFORNIA
1.     A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has previously been filed by or
       against the debtor, his/her spouse, his or her current or former domestic partner, an affiliate of the debtor, any
       copartnership or joint venture of which debtor is or formerly was a generai or limited partner, or member, or any
       corporation of whjch the debtor is a director, officer, or person in control, as follows: (Set forth ihe complete number
       and title of each such of prior proceeding, date filed, nature thereol the Bankruptcy Judge and court to whom
       assigned, whether still pending and, if noi, the disposition thereof. If none, so indicate. Also, list any real property
       included in Schedule A,/B that was flled with any such prior proceeding(s).)


2.    (lf petitioner is a partnership or joint venture) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform
      Act of '1978 has previously been filed by or against the debtor or an atfiliate of the debtor, or a general partner in the
      debtor, a relative of the general padner, general pariner of, or person in control of the debtor, partnership in which the
      debtor is a general partner, general partner of the debtor, or person in control of the debtor as follows: (Set forth the
      complete number and tiile of each such prior proceeding, date flled, nalure of the proceeding, the Bankruptcy Judge
      and court to whom assigned, whether still pending and, if not, the disposition thereof. tf none, so indicate. AIso, list
      any real property included in Schedule AJB that was filed with any such prior proceeding(s)-)
    None

3.     (lf petitioner is a corporation) A petition under the Bankruptcy Act of 1898 or the Bankruptcy Reform Act of 1978 has
      previously been filed by or against the debtor, or any of its afiiliates or subsidiaries, a director of the debtor, an officer
      of the debtor, a person in control of the debtor, a partnership in which the debtor is general partner, a general partner
      of the debtor, a relative of the general partner, dircctor, officer, or person in control of the debior, or any persons, firms
      or corporations owning 20% or more of its voting stock as follows: (Set forth the complete number and title of each
      such prior proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, whether
      siill pending, and if not, the disposition thereof. lf none, so indicate. Also, list any real property included in Schedule
      A'/B that was filed with any such prior proceeding(s).)
    None

4.    (lf petitioner is an individual) A peiition under the Bankrupicy Reform Act of 1978, including amendments thereol has
      been filed by or against the debtor within the last 180 days: (Set forth the complete number and title of each such prior
      proceeding, date filed, nature of proceeding, the Bankruptcy Judge and court to whom assigned, wheiher still
      pending, and if not, the disposition thereof. lf none, so indicate. Also, list any real property included in Schedule tuB
      that was filed with any such prior proceeding(s).)
    None


I   declare, under penalty of perjury, that the foregoing is true and correci.
    Executed   at   Torrance, California USA                        , California.                          L ?,t tl
                                                                                                                ii-iE6if-
                    Aptil 21, 2023                                                                    Signature of Debior        1

                                                                                                      -warren

                                                                                                      Signature of Debtor 2




                     This fom is mandatory. lthas been apprcved foruse ln tho United states Bankuptcy Coudforthq Centrat Dtstrict of Cattfolnia.

Oclober 2014                                                                                  F   1   01   5.2.1.STMT.RELATED.CASES
               Case 2:23-bk-12602-BB                                         Doc 1 Filed 04/28/23 Entered 04/28/23 13:16:26                                                                   Desc
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 Fill in this information to identify the case:

 Debtor name            MidStone, Inc., a California corporation

 United States Bankruptcy Court for the:                       CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $                251.76

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $                251.76


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           150,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           651,119.24


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             801,119.24




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
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Fill in this information to identify the case:

Debtor name         MidStone, Inc., a California corporation

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest
2.        Cash on hand                                                                                                                                  $50.00



3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     U.S. Bank N.A.                                    Checking                              4900                                         $51.76



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                        $101.76
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.


Part 4:          Investments
13. Does the debtor own any investments?
Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                         page 1
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Debtor       MidStone, Inc., a California corporation                                Case number (If known)
             Name



      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description               Date of the last         Net book value of         Valuation method used   Current value of
                                            physical inventory       debtor's interest         for current value       debtor's interest
                                                                     (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale

22.       Other inventory or supplies
          Misc. Hand Tools                  Unknown                                $0.00                                              $50.00



23.       Total of Part 5.                                                                                                        $50.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                             Valuation method                            Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                        Net book value of         Valuation method used   Current value of
                                                                     debtor's interest         for current value       debtor's interest
                                                                     (Where available)

39.       Office furniture
          1 Office Chair, 2 Telephones, and 1 Office
          Desk                                                                     $0.00       N/A                                  $100.00



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                    page 2
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Debtor        MidStone, Inc., a California corporation                                       Case number (If known)
              Name



40.        Office fixtures

41.        Office equipment, including all computer equipment and
           communication systems equipment and software

42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

43.        Total of Part 7.                                                                                                  $100.00
           Add lines 39 through 42. Copy the total to line 86.

44.        Is a depreciation schedule available for any of the property listed in Part 7?
              No
              Yes

45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
              No
              Yes

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                          page 3
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Debtor          MidStone, Inc., a California corporation                                                            Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $101.76

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                      $50.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                               $100.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                                   $251.76        + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                     $251.76




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 4
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Fill in this information to identify the case:

Debtor name       MidStone, Inc., a California corporation

United States Bankruptcy Court for the:       CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
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Fill in this information to identify the case:

Debtor name        MidStone, Inc., a California corporation

United States Bankruptcy Court for the:          CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           Unknown
          FRANCHISE TAX BOARD                                  Check all that apply.
          BANKRUPTCY SECTION MS A340                              Contingent
          P.O. BOX 2952                                           Unliquidated
          SACRAMENTO, CA 95812-2952                               Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               NOTICE ONLY
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                           $150,000.00          Unknown
          INTERNAL REVENUE SERVICE                             Check all that apply.
          Centralized Insolvency Operation                        Contingent
          Post Office Box 21126                                   Unliquidated
          Philadelphia, PA 19114                                  Disputed

          Date or dates debt was incurred                      Basis for the claim:
          2019, 2018                                           Unpaid Income Taxes (Liens)

          Last 4 digits of account number 9022                 Is the claim subject to offset?

          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 4
                                                                                                               37674
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Debtor      MidStone, Inc., a California corporation                                        Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $24,618.52
         Andersen Plumbing                                            Contingent
         1608 Yeager Ave                                              Unliquidated
         La Verne, CA 91750
                                                                      Disputed
         Date(s) debt was incurred  2019-2021
                                                                   Basis for the claim:    Trade Debt from Construction Business
         Last 4 digits of account number Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $9,233.91
         Bear State                                                   Contingent
         43234 Business Park Dr. #105                                 Unliquidated
         Temecula, CA 92590
                                                                      Disputed
         Date(s) debt was incurred 1/2022
                                                                   Basis for the claim:    Trade Debt for Construction Business
         Last 4 digits of account number X105
                                                                   Is the claim subject to offset?     No       Yes

3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $165,711.17
         Disaster Loan Services                                       Contingent
         c/o Small Business Administration                            Unliquidated
         1545 Hawkins Blvd Ste. 202
                                                                      Disputed
         El Paso, TX 79901
         Date(s) debt was incurred 5/2022
                                                                   Basis for the claim:    Unsecured Loan
         Last 4 digits of account number 7409                      Is the claim subject to offset?     No       Yes

3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $2,612.98
         Drain Right Services                                         Contingent
         18012 S Figueroa St.                                         Unliquidated
         Gardena, CA 90248
                                                                      Disputed
         Date(s) debt was incurred   2021
                                                                   Basis for the claim:    Trade Debt from Construction Business
         Last 4 digits of account number    Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $5,354.72
         Floor Pros                                                   Contingent
         4535 Artesia Blvd                                            Unliquidated
         Lawndale, CA 90260
                                                                      Disputed
         Date(s) debt was incurred   2021
                                                                   Basis for the claim:    Trade Debt from Construction Business
         Last 4 digits of account number    Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $17,409.11
         Guard Insurance Group                                        Contingent
         c/o Brown & Joseph LLC                                       Unliquidated
         One pierce Place, Suite 700
                                                                      Disputed
         Itasca, IL 60143
         Date(s) debt was incurred 2021
                                                                   Basis for the claim:    Guard v. MidStone: Collection Matter: File Number
                                                                   03385687
         Last 4 digits of account number 5687
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $2,079.97
         Johnson Controls                                             Contingent
         c/o Gaba Guerrini Law                                        Unliquidated
         8583 Irvine Center Dr., Suite 500
                                                                      Disputed
         Irvine, CA 92618
         Date(s) debt was incurred 2021
                                                                   Basis for the claim:    Collection Matter
         Last 4 digits of account number 2543                      Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 4
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Debtor      MidStone, Inc., a California corporation                                        Case number (if known)
            Name

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $165,390.00
         Moore & Lee LLP                                              Contingent
         c/o SUNRISE SENIOR LIVING MAN.                               Unliquidated
         1751 Pinnacle Dr., Suite 1100
                                                                      Disputed
         Attn: Andrew Coelho
         Mc Lean, VA 22102                                                          Civil Litigation Active Case
                                                                   Basis for the claim:

         Date(s) debt was incurred 2018
                                                                   Sunrise v. MidStone
                                                                   U.S. District Court, Case 2:22-cv-03377-MEMF
         Last 4 digits of account number MEMF
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $57,531.00
         OnDeck Capital                                               Contingent
         4700 W. Daybreak Pkwy., Suite 200                            Unliquidated
         South Jordan, UT 84009
                                                                      Disputed
         Date(s) debt was incurred 3/21
                                                                   Basis for the claim:    Line of Credit
         Last 4 digits of account number 7409
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $26,065.50
         Suttles Plumbing                                             Contingent
         2267 Agate Cour                                              Unliquidated
         Simi Valley, CA 93065
                                                                      Disputed
         Date(s) debt was incurred 2021
                                                                   Basis for the claim:    Trade Debt from Construction Business
         Last 4 digits of account number   Unknown
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.     $147,629.00
         Swift Capital Loan                                           Contingent
         c/o Capehart Scatchard Law Firm                              Unliquidated
         800 Midtlantic Dr. Ste. 300S
                                                                      Disputed
         Mount Laurel, NJ 08054
         Date(s) debt was incurred 5/22
                                                                   Basis for the claim:    Unsecured Loan resulted in an arbitration award case
                                                                   no.: AXXXXXXXX
         Last 4 digits of account number 9672
                                                                   Is the claim subject to offset?     No       Yes

3.12     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.       $6,479.00
         T&H Electric                                                 Contingent
         1916 Curtis Ave.                                             Unliquidated
         Redondo Beach, CA 90278
                                                                      Disputed
         Date(s) debt was incurred 2020
                                                                   Basis for the claim:    Trade Debt from Construction Business
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.13     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.      $20,530.99
         U.S. Bank, N.A.                                              Contingent
         P.O. Box 790408                                              Unliquidated
         Saint Louis, MO 63179-0408
                                                                      Disputed
         Date(s) debt was incurred 7/22
                                                                   Basis for the claim:    Credit Card
         Last 4 digits of account number 7652
                                                                   Is the claim subject to offset?     No       Yes

3.14     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.          $473.37
         U.S. Bank, NA                                                Contingent
         c/o Bankruptcy Department                                    Unliquidated
         PO Box 1950
                                                                      Disputed
         Saint Paul, MN 55101-0950
         Date(s) debt was incurred 2021
                                                                   Basis for the claim:    Credit Card
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 4
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            Name



Part 3:     List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                On which line in Part1 or Part 2 is the          Last 4 digits of
                                                                                                  related creditor (if any) listed?                account number, if
                                                                                                                                                   any

Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                   Total of claim amounts
5a. Total claims from Part 1                                                                         5a.       $                     150,000.00
5b. Total claims from Part 2                                                                         5b.   +   $                     651,119.24

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                              5c.       $                        801,119.24




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 4 of 4
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Fill in this information to identify the case:

Debtor name       MidStone, Inc., a California corporation

United States Bankruptcy Court for the:     CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

            State the term remaining

           List the contract number of
            any government contract




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      MidStone, Inc., a California corporation

United States Bankruptcy Court for the:   CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:
   2.1                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.2                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.3                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code


   2.4                                                                                                                             D
                                      Street                                                                                       E/F
                                                                                                                                   G

                                      City                    State        Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         MidStone, Inc., a California corporation

United States Bankruptcy Court for the:    CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      For prior year:                                                                     Operating a business                                 $29,711.28
      From 1/01/2022 to 12/31/2022
                                                                                          Other


      For year before that:                                                               Operating a business                               $653,331.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.    Sunrise Senior Living                    Construction                U.S. District Court, Central                  Pending
              Management, Inc.                         Services Dispute            District                                      On appeal
              v.                                                                   350 West 1st Street, Suite
                                                                                                                                 Concluded
              MidStone, Inc.; Dependable                                           4311
              Solutions So Cal, et al.                                             Los Angeles, CA 90012
              2:22-cv-03377 MEMF (PVCx)

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

              Recipient's name and address             Description of the gifts or contributions                 Dates given                             Value




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Debtor        MidStone, Inc., a California corporation                                            Case number (if known)



Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Yourist Law Corporation, a
                Professional
                10866 Wilshire Blvd, Suite 225
                Los Angeles, CA 90024                    Attorney Fees                                                 3/28/2023                  $4,662.00

                Email or website address
                bjy@youristlaw.com

                Who made the payment, if not debtor?
                n/a



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply


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                Address                                                                                             Dates of occupancy
                                                                                                                    From-To
      14.1.     2675 Skypark Suite 302B Dr.                                                                         2015-2021
                Torrance, CA 90505

Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address               Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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Debtor      MidStone, Inc., a California corporation                                            Case number (if known)




         None

      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

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Debtor      MidStone, Inc., a California corporation                                            Case number (if known)



   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed
   25.1.    MidStone, Inc.                           Construction Business                             EIN:         XX-XXXXXXX
            23608 Kathryn Ave.                       Non-Residential
            Torrance, CA 90505                                                                         From-To      2015-present date


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Husam Abusneineh                                                                                                   2018 to present date
                    STS Financial
                    1960 E Pacific Coast Hwy
                    Lomita, CA 90717

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        n/a



    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Debtor



    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        n/a



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory         The dollar amount and basis (cost, market,
               inventory                                                                                      or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




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 Debtof Midstone, Ino., a California corporation                                                   Case numbet $known)




        lNo
        E Yes. ldentify below.
               Name and address of rgoiplent            Amount of money ordescdption and value             of       Dates              Reasor for
                                                        ProPerty                                                                       providing the value

31.   Wthln   6   y6ars before filing thls case, has the debtor been a member of any consolldated group           fort   x purposes?

        lNo
        E   Yes. ldentit below.

      Name of thg parent corporation                                                                     Employer ldentlflcatlon number of the parent
                                                                                                         cofDoratIon

32.   Wthin   6   years before tiling this aase, has the debtor as an employer been respongible tor contrlbuting to a penslon fund?

        INo
        fl Yes. ldenliry below.
      Name ot tho pension fund                                                                           Employer ldentification number of the penslon
                                                                                                         fund

GEEIII        Slqnature and Declaration

        WARNING      -Bankruptcy fraud is a serious crlme. Maklng a false statemenl, conc€aling property, or obtainjng money or paoperty by frgud jn
        connection wilh a bankruptcy case can rcsult in fines up to $500,000 or imprisonment for up to 20 years, or both.
        18 U.S.C. SS 152, 1341, 1519, and 3571.

        I havo examined the information in this Stal€moDl of Financial Affairs and any atlachments and have a reasonable beliefthat the infofmalion is true
        ano arred.

        ldoclare under penalty ofpe.jury thattho fo€going   is true and co.rect.




                                                                   Warren Tarbell

                                                                 -Print6llfame
 Position or relationship to   debtor President
Are additionai pages to Shtement of Flnancial Atrairs for Non-lncllvlduals Filing for Bankruptcy (Officlal Form 207) attached?
I     tto
E     Yes




Ofliclal Form 207                            Staternont of Flnanclal Affalrs for Non-hd ividuals Ftttng for Bankruptcy                                  page 7
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82030 (Form 2030) (',l2l15)
                                                            United States Bankruptcy Court
                                                               Central District of California
    rn   re     udstgls, !9,, c catifornia       corpolation
                            f
                                                                              Debtor(s)                      3ffi|:.
                          DISCLOSUR-E OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1   .    pursuant ro I I U .S.C. g 3 29(a) and Fed. Bankr. P. 2016(b), I ceftify that I am the attomey for the above named debto(s) and that
         compensation paid to me within one year before the filing ofthe petition in bankruptcy, or agreed to be paid to me. for services rendered or to
         be rindered on behalfofthe debtor(s) in contemplation ofor in connection with the bankruptcy case is as follows:

                For legal services, I have agreed to accepl                                              $                     4,662.00

                Prior to the filing ofthis statement I havc received                                     $                     4$62.00
                Balance Due                                                                              $                          0.00

2.       $_i!!!],!M_      of the filing fee has been paid

3.       The source ofthe compensation paid to me was:

                I Debto, E             other (speci&):

4.       The source ofcompensation to be paid 1o me is:

                I Debtor E             other (specify):

          I     I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates ofmy law firm

          D     I have agreed to share the above.disclosed compensation with a person or persons who are not members or associates ofmy law firm. A
                copy ofthe agreement, together with a list ofthe names ofthe people sharing in the compensation is attached.

o.        In retum for the above-disclosed fee, I have agreed to render Iegal service for all aspects ofthc bankruptcy case, includingi

          a. Analysis ofthe d€btor's financial situation, and rendering advice to the debtor in determining whether to file   a petition in bankruptcyi
          b. Preparation and filing ofany petition, schodules, statement of affairs and plan which may be required;
          c, Representation ofthe debtor at the meeting ofcreditors    and confirmation hearing, and any adjoumed hearings thereof;
          d. lother provisions as needed]

7.        By agreement with the debtor(s), the above-disclosed fee does not include the following service:


r'                                                                     CERTIFICATION
      I cediry that     the foregoing is a compl€te statement of any agreement or arrangement for payment to me for reprcsentation ofthe debtor(s) in
1..
 mls bankruptcy procaeding.

         April 28,2023
)
         Date                                                                 BRADLEY
                                                                              Signature
                                                                              Yourist Law Corporation, a Professional corporation
                                                                              10866 Wilshire Blvd, Suite 225
                                                                              Los Angeles, CA 90024
                                                                              310-575-1'175 Fax: 310-575-'l'167
                                                                              bjy@youristlalvrq9m
i
                                                                              Name of   law./irn
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Attorney or Party Name, Address, Telephone & FAX Nos.,                                                  USE ONLY




310.575-1 {75 Fax: 3'l 0-575-1 1 67
California State Bar Number: 180025 cA
bjy@youristlaw.com




tr   Debtor(s) appearing without an attorney
I             for Debtor


                                                     UNITED STATES BANKRUPTCY COURT
                                                      CENTRAL DISTRICT OF CALIFORNIA


                                                                                        CASE NO,:
           Midstene, Inc., a California corporation
                                                                                        CHAPTER: 7




                                                                                                           VERIFICATION OF MASTER
                                                                                                          MAILING LIST OF CREDITORS

                                                                                                                        ILBR 1007-1(al



Pursuant to LBR '1007-1(a), the Debtor, or the Debto/s attorney if applicable, certities under penalty of perjury that the
master mailing list of creditors filed in this bankruptcy case, consisting of                            jL
                                                                               sheet(s) is complete, correct, and


                                                                                                    L 7//4
consistent with the Debtois schedules and l/we assume all responsibilitv for errors and omissions.

Date: April21,   2023
                                                                                              Signatureofbebt6i1--
Date:
                                                                                                                                                  ) (if applicable)

Date: April2l




                 Thjs   lom   ls optlonal. tl has been app,lved for use   an   th€ Unlied Slates Bankuptcy Court for the CeDtral Oisirict of Califomia.
December2ols                                                                                            F 1007-I.MAILING.LIST.VERIFICATION
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                       MidStone, Inc., a California corporation
                       23608 Kathryn Ave.
                       Torrance, CA 90505


                       BRADLEY J. YOURIST
                       Yourist Law Corporation, a Professional corporation
                       10866 Wilshire Blvd, Suite 225
                       Los Angeles, CA 90024


                       Andersen Plumbing
                       1608 Yeager Ave
                       La Verne, CA 91750


                       Bear State
                       43234 Business Park Dr. #105
                       Temecula, CA 92590


                       Disaster Loan Services
                       c/o Small Business Administration
                       1545 Hawkins Blvd Ste. 202
                       El Paso, TX 79901


                       Drain Right Services
                       18012 S Figueroa St.
                       Gardena, CA 90248


                       Floor Pros
                       4535 Artesia Blvd
                       Lawndale, CA 90260


                       FRANCHISE TAX BOARD
                       BANKRUPTCY SECTION MS A340
                       P.O. BOX 2952
                       SACRAMENTO, CA 95812-2952
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                   Guard Insurance Group
                   c/o Brown & Joseph LLC
                   One pierce Place, Suite 700
                   Itasca, IL 60143


                   INTERNAL REVENUE SERVICE
                   Centralized Insolvency Operation
                   Post Office Box 21126
                   Philadelphia, PA 19114


                   Johnson Controls
                   c/o Gaba Guerrini Law
                   8583 Irvine Center Dr., Suite 500
                   Irvine, CA 92618


                   Moore & Lee LLP
                   c/o SUNRISE SENIOR LIVING MAN.
                   1751 Pinnacle Dr., Suite 1100
                   Attn: Andrew Coelho
                   Mc Lean, VA 22102


                   OnDeck Capital
                   4700 W. Daybreak Pkwy., Suite 200
                   South Jordan, UT 84009


                   Suttles Plumbing
                   2267 Agate Cour
                   Simi Valley, CA 93065


                   Swift Capital Loan
                   c/o Capehart Scatchard Law Firm
                   800 Midtlantic Dr. Ste. 300S
                   Mount Laurel, NJ 08054


                   T&H Electric
                   1916 Curtis Ave.
                   Redondo Beach, CA 90278
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                   U.S. Bank, N.A.
                   P.O. Box 790408
                   Saint Louis, MO 63179-0408


                   U.S. Bank, NA
                   c/o Bankruptcy Department
                   PO Box 1950
                   Saint Paul, MN 55101-0950
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &         FOR COURT USE ONLY
Email Address
BRADLEY J. YOURIST 180025
10866 Wilshire Blvd, Suite 225
Los Angeles, CA 90024
310-575-1175 Fax: 310-575-1167
California State Bar Number: 180025 CA
bjy@youristlaw.com




     Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
          MidStone, Inc., a California corporation                            ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 7

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    BRADLEY J. YOURIST 180025                                               , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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tCheck the appropriate boxes and, if applicable, provide the required information'l
i.      I navi berdonal knowledge ofthe matters set forth in this Statement because:
         tr I am the president or other ofiicer or an authorized agent of the Debtor corporation
         E I am a party to an adversary proceeding
         E I am a party to a conlested matter
         I  I am the attorney for the Debtor corporation
2.a.     D The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
             class of the corporation's(s') equity interests:
             [For additional names, attach an addendum to this fom                    ]
  b. I     There are no entities that directly or indirectly own 10% or more

 Apr't 28,2023                                                                            BY:
Date

                                                                                          Name:




-----------     ThE forn' is opitonal. it has been approved for use by the united Siates Bankruplcy Court for the Central District of California.
December 2012                                                                                                F 1 O07-4,CORP.OWNERSHIP.STMT
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                                         Resolution of Board of Directors
                                                           of
                                        Midstone, Inc,, a California corporation




      Whereas, it is in the best interest ofthis corporation to file a voluntary petition in the the United States
Bankruptcy Court pursuant to Chapter 7 of Title i I ofthe United Slates Code;

       Be It Therefore Resolved, that warren Tarbett, President ofthis Corporation, is authorized and directed to
execute and deliver all documents necessary to perfect the filing ofa chapter z voluntary bankruptcy case on
behalf ofthe corporation; and

       Be It Further Resolved, that warren Tarbell, President of this Corporation is authorized and directed to
appear in all bankruptcy proceedings on behalfofthe corporation, and to otherwise do and perform all acts and
deeds and to execute and deliver all necessary documents on behalf ofthe corporation in connection with such
balkruptcy case, and

        Be It Further Resolved, that Warren Tarbett, President ofthis Corporation is authorized and directed to
employ BMDLEY J. YoURtsT 180025, attomey and the law firm ofYourist Law corporation, a Professional sqrporation
to reDresent the corporation in such bankruotcv case.

Date   April 21, 2023                                   Signed        l-       7Z4Z_
Date   April 21,2023                                    Signed
